
152 F.Supp. 226 (1957)
Gabriel FIRTAG et ux., Plaintiffs,
v.
Maurice J. GENDLEMAN, et al., Co-Partners, Trading as Auburn Esso Service, Defendants.
Civ. A. No. 2370-55.
United States District Court District of Columbia.
June 6, 1957.
Earl H. Davis, of Washington, D. C., for plaintiffs.
Justin L. Edgerton, of Washington, D. C., for defendants.
HOLTZOFF, District Judge.
This is a motion to retax costs. The Court is of the opinion that the following items are not taxable as costs:
Fees of expert witnesses in excess of the statutory witness fees.
Cost of copies of depositions obtained for counsel's use as distinguished from the cost of the original deposition.
Cost of a transcript of the proceedings at the trial, be it an entire transcript or partial. It is a taxable item only if the transcript is ordered by the court. It is not taxable if counsel orders it for his own use.
In view of these considerations the action of the clerk in disallowing the above items is sustained and the motion to retax costs is denied.
